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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHRISTOPHER E. BROWN,                       )
an individual,                              )
                                            )       CASE NO.:
              Plaintiff,                    )
vs.                                         )
                                            )
RGB LINCOLN AVENUE, LLC,                    )
an Illinois Limited Liability Company,      )
                                            )
              Defendant.                    )
                                            /

                                         COMPLAINT

       Plaintiff, CHRISTOPHER E. BROWN, through his undersigned counsel, hereby files

this Complaint and sues RGB LINCOLN AVENUE, LLC, an Illinois Limited Liability

Company, for injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq.,

(“AMERICANS WITH DISABILITIES ACT” or “ADA”) and alleges:

                              JURISDICTION AND PARTIES

1.     This is an action for declaratory and injunctive relief pursuant to Title III of the

       Americans With Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as

       the “ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§

       1331 and 1343.

2.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

3.     Plaintiff, CHRISTOPHER E. BROWN, (hereinafter referred to as “MR. BROWN”), is a

       resident of the State of New York, however, he frequently travels to Chicago as a tourist




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     to watch sporting events involving New York baseball, hockey and football teams and to

     enjoy the shops, restaurants and other venues in town.

4.   Plaintiff MR. BROWN is a qualified individual with a disability under the ADA. MR.

     BROWN suffers from Arthrogryposis, which causes him to be confined to a wheelchair.

     The condition also causes atrophy in his legs, arms, hands, and feet which makes it

     extremely difficult for him to walk, reach for, grip, and manipulate objects.

5.   Due to his disability, Plaintiff MR. BROWN is substantially impaired in several major

     life activities and requires a wheelchair for mobility.

6.   Defendant, RGB LINCOLN AVENUE, LLC, an Illinois Limited Liability Company, an

     Illinois Limited Liability Company, (hereinafter referred to as “RGB” or “Defendant”), is

     registered to do business in the State of Illinois. Upon information and belief, RGB is the

     owner and/or operator of the real property and improvements which are the subject of this

     action, to wit: the Property, known as Potbelly Sandwich Shop, generally located at 2266

     North Lincoln Ave, Unit 1, Chicago, Illinois 60614.

7.   All events giving rise to this lawsuit occurred in the Northern District of Illinois.

                    COUNT I - VIOLATION OF TITLE III OF THE
                      AMERICANS WITH DISABILITIES ACT

8.   Plaintiff realleges and reavers the preceding paragraphs as if they were expressly restated

     herein.

9.   The Property is a specialty sandwich shop and is open to the public and provides goods

     and services to the public. In fact, this particular location of the Potbelly Sandwich Shop

     is the original location where the restaurant chain began.




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10.   Plaintiff MR. BROWN visited the Property, generally located at 2266 North Lincoln

      Ave, Chicago, Illinois 60614, and attempted to utilize the goods and services offered at

      the Property, i.e., order food at the restaurant.

11.   However, due to a step up leading to the front entrance door, Plaintiff was unable to enter

      the store and could not obtain service at the store.

12.   MR. BROWN still desires to visit the Property, but fears that he will again encounter

      serious difficulty and be unable to enter the store again due to the lack of ramps at the

      step up discussed herein.

13.   MR. BROWN plans to and will visit the Property in the near future to utilize the goods

      and services offered thereon during his next planned trip to Chicago.

14.   Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. and

      is discriminating against the Plaintiff due to Defendant’s failure to provide and/or correct,

      inter alia, the following barriers to access which were personally observed and

      encountered by Plaintiff and which completely prevented his access to the store:

              A.      Plaintiff was unable to enter the store or order food there due to a step up

              leading to the front entry door and a lack of ramps which would allow a person in

              a wheelchair to enter.

15.   Defendant either does not have a policy to assist people with disabilities or refuses to

      enforce such a policy if it does exist.

16.   Independent of his intent to return as a patron to the Property, Plaintiff additionally

      intends to return to the Property as an ADA tester to determine whether the barriers to

      access discussed herein have been remedied.



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17.    Removal of the barriers to access located on the Property is readily achievable,

       reasonably feasible and easily accomplishable without placing an undue burden on

       Defendant.

18.    Removal of the barriers to access located on the Property would allow Plaintiff to fully

       utilize the goods and services located therein.

19.    The Plaintiff has been obligated to retain undersigned counsel for the filing and

       prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees,

       costs, and expenses paid by Defendant.

                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against Defendant, and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned and operated by

               Defendant is in violation of the ADA;

       B.      That the Court enter an Order directing Defendant to alter its

               facility to make it accessible and usable by individuals with

               disabilities to the full extent required by Title III of the ADA;

       C.      That the Court enter an Order directing Defendant to evaluate and

               neutralize its policies and procedures towards persons with

               disabilities for such reasonable time so as to allow Defendant to

               undertake and complete corrective procedures;

       D.      That the Court award reasonable attorneys’ fees, costs (including

               expert fees), and other expenses of suit, to the Plaintiff; and



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E.     That the Court award such other and further relief as it deems

       necessary, just and proper.

                             Respectfully Submitted,

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